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Case 2:05-cr-20030-.]PI\/| Document 77 Fl|ed 05/26/05 Pagelon PaQ
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

 

vs. Nb. 05-20030-M1

TIMOTHY R. FORREST,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD
OF EXCLUDABLE DELAY UNDER THE SPEEDY TRIAL ACT

 

Before the court is the government’s motion to continue
arraignment set May 25, 2005. As grounds for the motion, the
government states additional time is needed to determine if a Rule
20 transfer will be accomplished. In addition, counsel for
defendant is scheduled to appear in federal court in Illinois on May
25, 2005. The defendant does not oppose the continuance. The court
finds that the arraignment should be continued and that the ends of
justice served by such a continuance outweigh the best interests of
the public and the defendant in a speedy trial.

The arraignment is therefore continued and reset to Tuesdayl
June 21l 2005, at 9:30 a.m. in Courtroom 6, 3rd Floor Federal
Building, 167 North Main Street, Memphis, Tennessee.

The time period from May 25, 2005, through June 20, 2005, is
excluded from the time limits imposed by the Speedy Trial Act for
trial of this case.

IT IS SO ORDERED this 23rd day of May, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

DRISTIC COURT - WESTERN D'S'TRCT oFTENNESSEE

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Honorable .1 on McCalla
US DISTRICT COURT

